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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                            )
                                   )
 DNC AND TCPA LIST SANITIZER, LLC, )                 Case No. 24-12624 KHT
                                   )                 Chapter 11
      Debtor.                      )


     OBJECTION TO DEBTOR’S EX PARTE MOTION TO APPROVE STIPULATED
                  FINAL CASH COLLATERAL AGREEMENT


          Adam Young, Tubmanburg Limited and Ringba, LLC (collectively, “Ringba”), by and

 through its counsel, Lewis Roca Rothgerber Christie LLP, respectfully files its Objection to

 Debtor's Ex Parte Motion to Approve Stipulated Final Cash Collateral Agreement (the

 “Objection”). In support of the Objection, Ringba states as follows:

                                JURISDICTION AND VENUE

          1.    This Court has jurisdiction over this Chapter 11 case pursuant to 28 U.S.C.

 §§ 157(a) and (b) and 1334(a) and (b). This matter constitutes a core proceeding under 28 U.S.C.

 § 157(b)(2)(A) and (O).

          2.    Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

                               PROCEDURAL BACKGROUND

          3.    DNC and TCPA List Sanitizer, LLC (the “Debtor”) filed for relief under Chapter

 11 of the Bankruptcy Code on May 16, 2024 (the “Petition Date”). In its Voluntary Petition, the

 Debtor elected to proceed under Subchapter V of Chapter 11.

          4.    On August 28, 2024, the Debtor filed its Debtor's Ex Parte Motion to Approve

 Stipulated Final Cash Collateral Agreement (Docket No. 134) (the “Ex Parte Motion”). The Ex




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 Parte Motion seeks to have the Court approve a stipulated cash collateral agreement with an

 undisclosed creditor, but presumably JP Morgan Chase Bank, N.A.

                                              OBJECTION

          5.    Motions to use cash collateral are typically not allowed on an Ex Parte basis and

 require some form of notice to be sent to all creditors and parties in interest. Moreover, these

 matters are usually considered “first day” motions, and although they may be handled quickly and

 on an expedited basis, notice to interested parties is still required. The Debtor appears to be side-

 stepping the notice requirements by seeking ex parte relief to use cash collateral.

          6.    The contents of any request to use cash collateral are set forth in FED. R. BANKR. P.

 4001(b)(1)(B) and require significantly more than what the Debtor has provided in its Ex Parte

 Motion. The Debtor should be required to send the Ex Parte Motion out on notice pursuant to

 Rule 4001(b)(1)(C). This is especially true when you compare the requested relief in the Ex

 Parte Motion to the requested relief in the Motion to Assume Management Agreement with

 Cashyew Holdings, Inc. (the “Motion to Assume”) found at Docket No. 58. Indeed, the Ex

 Parte Motion appears to be an end-run around the three objections the Debtor received to its Motion

 to Assume filed by Ringba, JP Morgan Chase Bank, N.A. and the United States Trustee. See

 Docket Nos. 88, 100 and 102.

          7.    Ringba objects the Ex Parte Motion based on the lack of notice being provided to

 creditors. Ringba will file a more fulsome objection to the Debtor’s request to use cash collateral

 when the request is properly sent out on notice to allow all creditors and parties in interest a period

 of time to object to the requested relief.




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          WHEREFORE, Adam Young, Tubmanburg Limited and Ringba, LLC, respectfully

 request that the Court deny the Ex Parte Motion and enter such other and further relief as the Court

 deems just and appropriate.

          Respectfully submitted this 28th day of August, 2024.

                                               LEWIS ROCA ROTHGERBER CHRISTIE LLP

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on August 28, 2024, a true and correct copy of the
 foregoing OBJECTION TO DEBTOR’S EX PARTE MOTION TO APPROVE
 STIPULATED FINAL CASH COLLATERAL AGREEMENT was electronically filed and
 served via CM/ECF, which action caused automatic electronic notice of such filing upon all parties
 in interest in this matter as follows:

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                                                    N.A.



                                                     s/ Jennifer Eastin
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